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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

VERSUS                                                                                   NO. 03-355

DAMON LANDOR                                                                        SECTION "K"


                                    ORDER AND REASONS

       Before the Court is petitioner Damon Landor's Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside or Correct Sentence by a Person in Federal Custody (Doc. 365). Damon Landor

("Landor") seeks to collaterally challenge the constitutionality of the judgment of conviction and

sentence based on his alleged ineffective assistance of counsel "both by virtue of an intentionally

bad-faith plea agreement from the government which was exacerbated by counsel's willful and

intentionally erroneous advice." (Doc. 365 at 5). He also seeks appointment of counsel and an

evidentiary hearing. Having reviewed the pleadings, memoranda and the relevant law, the Court

finds no merit in the motion.



Background

       An eleven count indictment was handed down by a grand jury on November 12, 2003,

charging Landor, along with ten other co-defendants with violation of the Controlled Substances

Act. Each were charged in Count One with conspiracy to distribute and to possess with intent to

distribute an unspecified quantity of cocaine and cocaine base (crack), in violation of 21 U.S.C. §

841 (b)(1)(C) and 846. In Count 3, Landor was also charged with use of a communication facility

to commit, cause, and facilitate the conspiracy to distribute and to possess with intent to distribute

an unspecified quantity of crack.
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        On February 9, 2004, a bill of information was filed pursuant to 21 U.S.C. §§ 851(a) and 841

to establish that on April 16, 1998, Landor was convicted of distribution of cocaine, a felony, in the

22nd Judicial District court of St. Tammany Parish, Louisiana, triggering the enhanced sentences

found in § 841. (Doc. 105). There were other convictions which the Government could have used

to multiple bill Landor as well–possession of cocaine and distribution of an imitation or counterfeit

controlled dangerous substance, falsely representing it to be a controlled substance– but they were

not included these other crimes in the February enhancement bill.

        On March 22, 2004, a single count superseding bill of information was filed against Landor

charging him with conspiracy to distribute and to possess with intent to distribute more than 500

grams, but less than five kilograms of cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(B). (Doc. 155).

        On March 31, 2004, pursuant to a plea agreement signed by Landor, defense counsel and

government counsel, Landor entered a plea of guilty to the single count superseding bill of

information. In the plea agreement itself, the mandatory minimum sentence for Landor of ten years

up to a maximum sentence of life was stated unequivocally. At the time of his rearraignment, the

Court, in addition to explaining the elements of the offense and defendant's right to trial, specifically

informed Landor of the ten year minimum mandatory sentence. The Court asked Landor if he

understood that he faced a minimum sentence of 10 years twice during the colloquy to which he

responded affirmatively.

        At the time of his rearraignment, the factual basis, which was signed by the defendant and

his counsel, was read in open court and acknowledge to be true by the defendant. Therein, it stated

that Landor distributed cocaine to or received cocaine from the individuals charged in Count One


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of the Indictment and that Landor was responsible for a total of more than 500 grams, but less than

two kilograms, which is a substantially lower quantity–three kilograms less–than what he potentially

could have had attributed to him for purposes of Sentencing Guideline calculations under the

Superseding Bill of Information. At the time of the rearraignment, the Court also unequivocally

informed the defendant and he acknowledged that he was waiving all of his post-conviction

remedies, save for constitutional deficiencies such as ineffective assistance of counsel. Finally, at

the conclusion of the proceedings, the Court inquired of Landor whether he understood the charge

against him, whether he was pleading guilty because he was in fact guilty, and whether he was

pleading guilty voluntarily and of his own free will, and whether after listening to the entire

proceedings, which outlined the entirety of the maximum and mandatory minimum penalties, his

rights, the plea agreement, and the factual basis underlying his charge, he still wanted to plead

guilty. Landor indicated that he indeed wanted to plead guilty and the Court accepted his plea.

         On May 19, 2004, prior to his being sentenced, defendant sent a letter to the Court stating

his desire to have his attorney removed because he contended that counsel had refused to discuss

whether or not "the government intended to keep its promise not to file an enhancement." The Court

forwarded the letter to counsel, and Landor contends that counsel then spoke directly with him and

"told him that it was too late to do anything about the enhancement because it had already been

filed." (Doc. 365 at 10).1

         On June 14, 2004, Landor's counsel, Dane Ciolino, responded to the Court as follows:



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           Landor was rearraigned with 3 other defendants. Considering that others were told that their minimum
sentence was five years as opposed to Landor's being 10 years, it was clear that the bill of information that enhanced
his sentence had already been filed. Counsel for defendant had no control over the filing of same, and the plea
agreement was signed well after the enhancing bill been filed by the Government and contained an explanation of
the statutory minimum sentence therein.

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              On May 21, 2004, I received a copy of a letter that Mr. Landor wrote to you
       complaining about various matters. I thereafter wrote to Mr. Landor and have the
       following to report.

               Mr. Landor contended in his letter that I promised him that he would 'not be
       billed under any circumstances.' At the time of his plea, Mr. Landor had already
       been billed as a multiple offender for a single prior conviction. Both AUSA Duane
       Evans and I informed him that if he pled guilty, the government would refrain from
       billing him with any additional prior convictions. Furthermore, at the time of Mr.
       Landor's guilty plea, Mr. Evans and I told him that he would likely receive a
       statutory mandatory minimum sentence of 10 years. In any event, although Mr.
       Landor may object to a Guidelines computation using the multiple bill, he has
       informed me that he does not wish to seek to withdraw his guilty plea.

(Exhibit H to the Government's Memorandum).

       The Presentence Investigation Report ("PSR") noted that there is a statutory minimum term

of imprisonment. The calculations disclosed a guideline range of 92 to 115 months. That range was

based on a determination of a base offense level of 23 which was the result of the government's

agreement to limit the amount of drugs attributed to the defendant in the factual basis. Had the

defendant gone to trial and been found guilty of the conspiracy alleged in Count One of the original

Indictment, he would have had attributed to him as a member of the conspiracy all of the drugs

involved therein which were far in excess of two kilograms. However, in the plea agreement and

the Superseding Bill of Information, the amount was reduced.

       No written objections to the PSI were filed; however, counsel for defendant did raise a

number of objections that Mr. Landor raised to him on the morning of sentencing. They included

objections to the criminal history point calculations which could have impacted the guidelines;

counsel explained that his review of the record would not allow him in good faith to argue these

objections, but he asked they be noted. Furthermore, as there was a mandatory statutory minimum

to which the Court by law had to sentence Landor, the Court found the objections to be irrelevant.


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        The Court, as required by the statute, sentenced Landor to 120 months imprisonment with

an eight year term of supervised release. The judgment was filed into the record on July 13, 2004;

Landor did not file a notice of appeal. However, he did file the instant motion on December 14,

2004.



Issue Presented

        The defendant frames the basis for the relief sought as follows:

        Ineffective assistance of counsel/invalid guilty plea procedure: that the defendant's
        current 120 month sentence is unlawful in that it is the product of woefully
        ineffective assistance from his counsel of record; the facts of which demonstrate a
        violation of the defendant's constitutional right to a fair trial and due process of law,
        both by virtue of an intentionally bad-faith plea agreement from the government
        which was exacerbated by counsel's willful and intentionally erroneous advice.

(Doc. 365 at 5). Specifically, he contends that (1) he was unaware that the government had filed a

bill of information to establish his prior conviction which resulted in a mandatory minimum 10 year

imprisonment sentence; (2) his counsel mislead him to believe that he could be held accountable in

the drug conspiracy for five kilograms or more of cocaine; (3) that counsel failed to inform him that

by entering in the plea agreement he was waiving his right to challenge his sentence. Based on these

alleged defalcations, Landor maintains that he is the victim of ineffective assistance of counsel. As

noted, Landor also seeks appointment of counsel and an evidentiary hearing. The Court will deal

with these two requests first.




Request for Appointment of Counsel and Request for an Evidentiary Hearing

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        With respect to Landor’s request for the appointment of counsel, the Supreme Court has

made it clear that a convicted defendant has no Sixth Amendment right to counsel in post-conviction

habeas proceedings. Irving v. Hargett 59 F.3d 23, 26 (5th Cir. 1995) citing Pennsylvania v. Finley,

481 U.S. 551, 555, 107 S.Ct. 1990, 1993, 95 L.Ed.2d 539 (1987); Callins v. Johnson, 89 f.3d 210,

212 (5th Cir. 1996). Furthermore, the Court finds that the allegations contained in this motion so

frivolous that there is no basis for such an appointment. Accordingly, this request will be denied.

        As to the request for and evidentiary hearing, the motion, files and records of the case

conclusively show that the prisoner is entitled to no relief, as explained in detail hereafter. As such,

under 28 U.S.C. § 2255, the request for an evidentiary hearing will likewise be denied.



Analysis

        Waiver of Right to Collaterally Attack Sentence

        “An informed and voluntary waiver of post-conviction relief is effective to bar such relief.

United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994). Nonetheless, an ineffective assistance of

counsel challenge may not necessarily be included in such a waiver. Id. “Only when the claimed

assistance directly affected the validity of that waiver or the plea itself” can an ineffective assistance

of counsel claim survive that waiver. United States v. White, 307 F.3d 336, 343 (5th Cir. 2002).

"To be valid, a defendant's waiver of his right to appeal must be informed and voluntary. U.S. v.

Melancon, 972 F.2d 566, 567 (5th Cir.1992). A defendant must know that he had a 'right to appeal

his sentence and that he was giving up that right.' Id. at 568." U.S. v. Portillo 18 F.3d 290, 292 (5th

Cir. 1994). This Court is convinced that Landor had such knowledge.

        It is beyond cavil, considering the Court’s intensive inquiry at the time of the plea, that


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Landor knowingly waived his right to file for post-conviction relief including the filing of the instant

motion pursuant to 28 U.S.C. § 2255. He was specifically informed, as he has noted in his own

filings, that the Court told him that he was waiving these rights. In that portion of the colloquy, the

Court stated:

        Specifically, do you understand that you have waived your right to appeal any
        sentence that I may impose including your rights to appeal under 18 U.S.C. § 3742
        which provides for review of a sentence and under 28 U.S.C. § 2255 which provides
        for post conviction remedies if there is a legal or constitutional basis for you to attack
        the conviction. Because you have waived these rights, you may appeal your
        conviction and/or sentence only under the following exceptions: first, you may
        appeal if I impose a sentence in excess of the statutory maximum. Second, you may
        appeal if I impose a sentence which constitutes an upward departure from the
        guideline range. Also you may appeal your sentence if you can show that you were
        deprived of certain constitutional rights, including the effective assistance of counsel.

In addition, the defendant attested in open court that he understood the plea agreement which

defendant signed.

        With respect to the voluntary nature of the plea, the Court specifically inquired whether he

was influenced, induced or persuaded, in any manner, to plead guilty because of any threats made

by anyone, to which he answered negatively. There is no evidence of any actual or threatened

physical harm, or mental coercion overbearing the will of the defendant. Again, at the time of the

plea, the Court specifically questioned and was satisfied that the defendant was entering into the plea

voluntarily.

        This belief is compounded by the correspondence received from defendant and his counsel

after his plea as outlined above. As noted, Landor stated unequivocally in a letter to the Court that

he was guilty of the charge and that he was not going to trial. Thus, the waiver was effective to bar

this filing; there is nothing in this record to indicate that the waiver and plea were not entered into

voluntarily and with full knowledge by Landor.

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       Ineffective Assistance of Counsel

       As this Court noted previously in U.S. v. Knapper , 2003 WL 22038369 (E.D.La., August

23, 2003):

               In White, the Fifth Circuit held that “a defendant can waive his right to file
       a section 2255 motion, although such a waiver might not apply to an ineffective
       assistance of counsel claim.” White, 307 F.3d at 339. The court stated that an
       ineffective assistance of counsel claim could proceed in one of two ways: 1) a
       defendant may argue that the ineffective assistance of his counsel rendered his
       waiver involuntary; or 2) a defendant may argue that he received ineffective
       assistance of counsel at his sentencing and that all ineffective assistance of counsel
       arguments are immune from waiver. Id.


Id. at *3-4. After reviewing Landor's brief, it appears that he is arguing the first alternative: that

the ineffective assistance of counsel rendered his waiver involuntary.

        To make a valid claim for ineffective assistance of counsel, Landor must demonstrate both

prongs of the test set forth in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d

674 (1984). He must show that 1) his counsel's performance was deficient; and 2) his counsel's

deficient performance prejudiced his defense. 466 U.S. at 687. As to the first prong of the test, a

defendant must show that “counsel's representation fell below and objective standard of

reasonableness.” Hill v. Lockhart, 474 U.S. 52, 106 S.Ct. 366, 88 L.Ed.2d 203 (1985)(citing

Strickland, 466 at 694). The defendant must also show, however, that “but for counsel's

unprofessional errors, the result of the proceeding would have been different.” Id. This two-part test

applies when a defendant challenges his guilty plea based on ineffective assistance of counsel. Hill

474 at 58. In this context, the “prejudice” requirement hinges on whether counsel's constitutionally

defective performance caused the defendant to plead guilty. Id. at 59. In other words, the defendant


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must prove that there is a reasonable probability that “but for” counsel's errors “he would not have

pleaded guilty and would have insisted on going to trial.

        In the present case, as previously noted, Landor contends that his counsel was ineffective

because (1) he was unaware that the government had filed a bill of information to establish his prior

conviction which resulted in a mandatory minimum 10 year imprisonment sentence; (2) his counsel

mislead him to believe that he could be held accountable in the drug conspiracy for five kilograms

or more of cocaine; (3) that counsel failed to inform him that by entering in the plea agreement he

was waiving his right to challenge his sentence. As demonstrated above, clearly, Landor was aware

of the mandatory statutory minimum sentence of 10 years and that he waived his right to challenge

his sentence.

        As to his "misleading him to believe" that he could be held accountable in the drug

conspiracy for five or more kilograms of cocaine, Landor is sorely misinformed as to the law. Under

U.S.S.G. §1B1.3 of the United States Sentencing Guidelines, if Landor had proceeded to trial and

had been convicted, because he was charged as a conspirator in a drug conspiracy, the calculation

of his guidelines would have been determined on the basis not only of his acts and omissions, but

also "all reasonably foreseeable acts and omissions of others in furtherance of the jointly undertaken

criminal activity that occurred during the commission of the offense of conviction, in preparation

for that offense, or in the course of attempting to avoid detection or responsibility for that offense."

Id. Christian Bickham plead guilty to the drug conspiracy and admitted distributing between 15 and

50 kilograms of cocaine. He admitted that he had knowledge that his cocaine was being converted

into, between 150 to 500 grams of cocaine base. Ike Laurant and Jerome Vince, two other co-

defendants plead guilty to either distributing or conspiring with others to distribute or to possess


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with intent to distribute between 5 and 15 kilograms of cocaine. Thus, had Landor proceeded to trial

and was convicted of the conspiracy count, Landor would have been subject to a mandatory

minimum prison sentence of 20 years, with the § 851 bill of information. Had the Government

chosen to file prior to trial another bill under § 851 charging him with two prior felony drug

convictions, and he was convicted under § 841(a)(1), he would have faced a mandatory life

sentence.

       Thus, the premise upon which Landor filed this motion is erroneous. Furthermore, in light

of these facts, it is impossible to find that his counsel acted in any manner deficient; indeed, Landor

obtained significant sentencing advantages by virtue of the subject plea. Likewise, there is no

prejudice, considering that Landor's attesting to having committed the crime at the plea and in his

subsequent letter to the Court wherein he stated that he was guilty of the charge. Landor has neither

shown, nor demonstrated a reasonable probability that but for his counsel's advice he would have

insisted in going to trial. Accordingly,

       IT IS ORDERED that the Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct

Sentence by a Person in Federal Custody (Doc. 365) is DENIED and judgment shall be entered

dismissing same with prejudice.

       New Orleans, Louisiana, this 18th day of August, 2005.




                                                            STANWOOD R. DUVAL, JR.
                                                UNITED STATES DISTRICT COURT JUDGE




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